               4:10-cr-03085-RGK-CRZ                 Doc # 25          Filed: 09/10/10           Page 1 of 2 - Page ID # 69
AO 472 (Rev. 09/08) Detention Order Pending Trial
                                                                                                                              FILED
                                                                  u.s. O\5TRlcT,.~m,:i;;
                                     UNITED STATES DISTRICT COURT""l<t"rr."'···' '''''' ~'<'"
                                                                     for the                                  \;l.,j ',', l.J 1 .. 1l   I.



                                                             District of Nebraska
                                                                                                              2610 SEP lOAM 10: 28
                                                                                                              OFFICE Of H£ CLEHK
                   United States of America                              )
                                v.                                       )
                                                                         )       Case No.4: lOCR3085
          FABIAN ANTILLON-ESTRADA,                                       )
                            Defendant                                    )

                                               DETENTION ORDER PENDING TRIAL

         After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f), I conclude that these facts
require that the defendant be detained pending trial.
                                                         Part I-Findings of Fad
o (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has previously been convicted
          of     0 a federal offense         0 a state or local offense that would have been a federal offense if federal
               jurisdiction had existed - that is
                o a crime of violence as defined in 18 U.S.C. § 3 I 56(a)(4)or an offense listed in 18 U.S.C. § 2332b(g)(5)
                   for which the prison term is 10 years or more.

                o an offense for which the maximum sentence is death or life imprisonment.
                o an offense for which a maximum prison term of ten years or more is prescribed in
                                                                                                                                        •
                o a felony committed after the defendant had been convicted of two or more prior federal offenses
                   described in 18 U .S.C. § 3142(f)( 1)(A)-(C), or comparable state or local offenses:

                o any felony that is not a crime of violence but involves:
                  o a minor victim
                  o the possession or use of a firearm or destructive device or any other dangerous weapon
                  o a failure to register under 18 U.S.C. § 2250
o (2)          The offense described in finding (1) was committed while the defendant was on release pending trial for a
               federal, state release or local offense.

o (3)          A period of less than five years has elapsed since the             0 date of conviction          0 the defendant's release
               from prison for the offense described in finding (1).
o (4)          Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition will reasonably assure the
               safety of another person or the community. I further find that the defendant has not rebutted this presumption.

                                                         Alternative Findings (A)
o (1)          There is probable cause to believe that the defendant has committed an offense
                o for which a maximum prison term of ten years or more is prescribed in ----------------

         ·Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act
         (21 U.S.C. § 951 et seq.); or (c) Section I ofAct of Sept. 15,1980 (21 U.S.C. § 955a).                                          Page 1 of 2
             4:10-cr-03085-RGK-CRZ                   Doc # 25         Filed: 09/10/10           Page 2 of 2 - Page ID # 70
AO 472 (Rev. 09/08) Detention Order Pending Trial


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                            District ofNebraska

              D under 18 U.S.C. § 924(c).
D (2)       The defendant has not rebutted the presumption established by finding 1 that no condition will reasonably assure
            the defendant's appearance and the safety ofthe community.

                                                         Alternative Findings (B)
D (1)        There is a serious risk that the defendant will not appear.
D (2)        There is a serious risk that the defendant will endanger the safety of another person or the community.




                                          Part u- Statement of the Reasons for Detention
         I find that the testimony and infonnation submitted at the detention hearing establishes by YClear and
convincing evidence           0 a preponderance ofthe evidence that




                                               Part ill-Directions Regarding Detention
         The defendant is committed to the custody ofthe Attorney General or a designated representative for confinement
in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or held in custody
pending appeal. The defendant must be afforded a reasonable opportunity to consult privately with defense counsel. On
order ofUnited States Court or on request ofan attorney for the Government, the person in charge ofthe corrections facility
must deliver the defendant to the United States marshal for a court appearance.

Date:                 9/10/2010                                                             slCheryl R. Zwart

                                                                                              Judge 's Signature



                                                                                               Name and Title




         *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 80] et seq.); (b) Controlled Substances Import and Export Act
         (21 U.S.C. § 95] et seq.); or (c) Section 1 ofAct of Sept 15, 1980 (21 U.S.C. § 955a).                                            Page 2 of 2
